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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

STARR INDEMNITY & LIABILITY )
COMPANY,                       )
                               )
         Plaintiff,            )
                               )
v.                             )              Civil Action No.: 1:21-cv-04786-MLB
                               )
STAFFORD LOGISTICS, INC. d/b/a )
CUSTOM ECOLOGY and             )
CUSTOM ECOLOGY, INC.,          )
                               )
         Defendants.           )

                                   COMPLAINT

        Plaintiff, Starr Indemnity & Liability Company, brings this Complaint against

the above-named Defendants, and in support thereof states the following:

                          JURISDICTION AND VENUE

        1.    Starr Indemnity is a property and casualty insurance company

incorporated in the State of Texas.

        2.    Starr Indemnity maintains its main administrative office at 399 Park

Avenue, New York, New York.

        3.    Starr Indemnity is authorized to do business, and does business, in the

State of Georgia.

        4.    For diversity purposes, Starr Indemnity is a citizen of Texas and New

York.
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       5.       Defendant Stafford Logistics, Inc. d/b/a Custom Ecology is a

corporation duly organized and existing under the law of the State of Delaware.

       6.       Defendant Stafford maintains its headquarters and principal place of

business at 6375 Discovery Boulevard, Mableton, Georgia.

       7.       Defendant Stafford is not registered as an authorized foreign

corporation in Georgia pursuant to §14-2-1501, et seq. of the Georgia general

statutes.

       8.       For diversity purpose, Defendant Stafford is a citizen of Delaware and

Georgia.

       9.       Defendant Custom Ecology, Inc. is a corporation duly organized and

existing under the law of the State of Delaware.

       10.      Defendant Custom maintains its headquarters and principal place of

business at 6375 Discovery Boulevard, Mableton, Georgia.

       11.      Defendant Custom is not registered as an authorized foreign

corporation in Georgia pursuant to §14-2-1501, et seq. of the Georgia general

statutes.

       12.      For diversity purpose, Defendant Custom is a citizen of Delaware and

Georgia.

       13.      The amount in controversy between the parties is in excess of Seventy-

Five Thousand ($75,000.00) Dollars.



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      14.    Jurisdiction is based on diversity of citizenship under 28 U.S.C. § 1332.

                          FACTUAL ALLEGATIONS

      15.    At the specific instance and request of Defendants, Starr Indemnity

issued a commercial automobile insurance policy, under policy number

1000072605, which covered the term December 31, 2015 to December 31, 2016 (the

“2015 Policy”).

      16.    At the specific instance and request of Defendants, the 2015 Policy

renewed for the term December 31, 2016 to December 31, 2017 (the “2016 Policy”).

      17.    At the specific instance and request of Defendants, the 2016 Policy

renewed for the term December 31, 2017 to December 31, 2018 (the “2017 Policy”).

      18.    At the specific instance and request of Defendants, the 2017 Policy

renewed for the term December 31, 2018 to December 31, 2019 (the “2018 Policy”

and, together with the 2015 Policy, 2016 Policy, and 2017 Policy, the “Policies”).

      19.    The Policies are insurance contracts which provides insurance coverage

for certain liabilities of Defendants as set forth therein in exchange for payment of

premiums.

                                     2015 Policy

      20.    Pursuant to the terms of the 2015 Policy, Defendants have certain

deductible obligations to reimburse Plaintiff for amounts associated with claims

submitted for coverage thereunder.



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      21.    The 2015 Policy has a liability deductible of One Hundred Thousand

Dollars ($100,000.00) per accident.

      22.    Pursuant to the terms of the 2015 Policy, “[t]o settle and claim or ‘suit’,

[Starr Indemnity] may pay all or any part of any deductible shown in the Schedule.

If this happens, [Defendants] must reimburse [Starr Indemnity] for the deductible or

part of the deductible [Starr Indemnity] paid.”

      23.    Claims were filed that were covered under the 2015 Policy.

      24.    As a result of the claims, Defendants owed deductibles to Starr

Indemnity.

      25.    As of the date of this Complaint, Defendants overpaid the deductibles

under the 2015 Policy and are due a credit in the amount of $38,427.53.

                                      2016 Policy

      26.    Pursuant to the terms of the 2016 Policy, Defendants have certain

deductible obligations to reimburse Plaintiff for amounts associated with claims

submitted for coverage thereunder.

      27.    The 2016 Policy has a liability deductible of Two Hundred Fifty

Thousand Dollars ($250,000.00) per accident.

      28.    Pursuant to the terms of the 2016 Policy, “[Starr Indemnity] will pay

all sums that we become obligated to pay up to our Limit of Insurance under the

policy to which this endorsement applies.”



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      29.    The 2016 Policy requires Defendants to “reimburse [Starr Indemnity]

up to the Deductible Limit(s) shown in the Schedule for any amounts [Starr

Indemnity] paid as damages, benefits or Medical Payments.”

      30.    The 2016 Policy also requires Defendants “to reimburse [Starr

Indemnity] for all ‘Allocated Loss Adjustment Expense’ [Starr Indemnity] pays as

Supplementary Payments . . . up to the deductible limit.”

      31.    Claims were filed that were covered under the 2016 Policy.

      32.    As a result of the claims, Defendants owe deductibles to Starr

Indemnity.

      33.    Starr Indemnity billed Defendants for the deductibles owed under the

2016 Policy, but Defendants have failed and refused to pay the deductibles.

      34.    As of the date of this Complaint, Defendants owe $519,573.22 for

deductibles under the 2016 Policy.

                                     2017 Policy

      35.    Pursuant to the terms of the 2017 Policy, Defendants have certain

deductible obligations to reimburse Plaintiff for amounts associated with claims

submitted for coverage thereunder.

      36.    The 2017 Policy has a liability deductible of Two Hundred Fifty

Thousand Dollars ($250,000.00) per accident.




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      37.    Pursuant to the terms of the 2017 Policy, “[Starr Indemnity] will pay

all sums that we become obligated to pay up to our Limit of Insurance under the

policy to which this endorsement applies.”

      38.    The 2017 Policy requires Defendants to “reimburse [Starr Indemnity]

up to the Deductible Limit(s) shown in the Schedule for any amounts [Starr

Indemnity] paid as damages, benefits or Medical Payments.”

      39.    The 2017 Policy also requires Defendants “to reimburse [Starr

Indemnity] for all ‘Allocated Loss Adjustment Expense’ [Starr Indemnity] pays as

Supplementary Payments . . . up to the deductible limit.”

      40.    Claims were filed that were covered under the 2017 Policy.

      41.    As a result of the claims, Defendants owe deductibles to Starr

Indemnity.

      42.    Starr Indemnity billed Defendants for the deductibles owed under the

2017 Policy, but Defendants have failed and refused to pay the deductibles.

      43.    As of the date of this Complaint, Defendants owe $940,305.55 for

deductibles under the 2017 Policy.

                                     2018 Policy

      44.    The initial premium for the 2018 Policy period was based on

information submitted by Defendants and/or their insurance broker regarding the




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number of “Autos” (as defined in the Policy) held by the Defendants at policy

inception.

      45.    The 2018 Policy was subject to audit to determine the final premium.

      46.    Pursuant to the terms of the 2018 Policy, the final premium is calculated

as follows: ((total number of “Autos” (as defined in the Policy) held by Defendants

at policy inception + total number of Autos held by Defendants at policy

termination) / 2) * $9,025.00.

      47.    The audit can result in additional premiums due from Defendants or

return premiums due back to the Defendants.

      48.    Starr Indemnity performed an audit of Defendants’ books and records

for the period covered by the 2018 Policy.

      49.    The sum total of premiums, including the audit premiums, for the 2018

Policy was $5,427,402.70.

      50.    At policy inception Defendants remitted $5,707,431.09 for premiums

for the 2018 Policy.

      51.    Defendants, therefore, are entitled to a credit in the total amount of

$281,028.39 for the premium due under the 2018 Policy.

                                   COUNT ONE
                                 Breach of Contract

      52.    Plaintiff incorporates by reference paragraphs 1 through 51, as if fully

set forth herein.


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      53.       After application of the credits due to Defendants under the 2015 Policy

and 2018 Policy, Defendants owe Starr Indemnity $1,140,422.85 for deductibles.

      54.       Starr Indemnity, on numerous occasions prior to filing the instant

litigation, demanded payment of $1,140,422.85 owed by Defendants.

      55.       Defendants have failed and refused to pay the deductibles due under

the Policies.

      56.       Through its failure to reimburse Starr Indemnity, Defendants have

breached the insurance contracts between the parties.

      57.       By reason of the foregoing, Starr Indemnity has sustained damages of

$1,140,422.85, plus interest, and costs.

      WHEREFORE, Starr Indemnity demands judgment against Defendant in the

amount of $1,140,422.85 for compensatory damages, together with costs of suit,

interest, and such other relief as this Court deems just and proper.

                                   COUNT TWO
                                  Unjust Enrichment

      58.       Plaintiff incorporates by reference paragraphs 1 through 51, as if fully

set forth herein.

      59.       Starr Indemnity provided insurance coverage and related services to

Defendants for which Defendants have refused to pay.

      60.       Defendants, through their refusal to pay for the insurance coverage and

related services, has been unjustly enriched at Starr Indemnity’s detriment.


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      61.    Defendants have failed, refused, and continue to refuse to pay the

balance due and owing to Starr Indemnity, thereby resulting in damages to Starr

Indemnity in the amount of $1,140,422.85, plus interest, and costs.

                                COUNT THREE
                    Attorney’s Fees and Expenses of Litigation

      62.    Plaintiff incorporates by reference paragraphs 1 through 61, as if fully

set forth herein.

      63.    Defendants have acted in bad faith, been stubbornly litigious, and

caused unnecessary trouble and expense within the meaning of O.C.G.A. § 13-6-11.

      64.    Defendants are liable to Plaintiffs for their attorneys’ fees and expenses

of litigation in an amount to be proven at trial.

      WHEREFORE, Starr Indemnity demands judgment against Defendant in the

amount of $1,140,422.85 for compensatory damages, together with costs of suit,

interest, and such other relief as this Court deems just and proper.

      TRIAL BY JURY IS DEMANDED FOR ALL COUNTS ABOVE.

      This 19th day of November 2021.




                               (signature on next page)




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